                 EXHIBIT G


Case 1-20-01016-CLB, Doc 303-7, Filed 11/21/23, Entered 11/21/23 16:07:11,
                  Description: Exhibit G - Order, Page 1 of 3
FILED: ERIE COUNTY CLERK 10/23/2023 01:10 PM                               INDEX NO. 801322/2019
NYSCEF DOC. NO. 62                                                   RECEIVED NYSCEF: 10/20/2023




           Case 1-20-01016-CLB, Doc 303-7, Filed 11/21/23, Entered 11/21/23 16:07:11,
                             Description: Exhibit G - Order, Page 2 of 3
                                               1 of 2
FILED: ERIE COUNTY CLERK 10/23/2023 01:10 PM                               INDEX NO. 801322/2019
NYSCEF DOC. NO. 62                                                   RECEIVED NYSCEF: 10/20/2023




           Case 1-20-01016-CLB, Doc 303-7, Filed 11/21/23, Entered 11/21/23 16:07:11,
                             Description: Exhibit G - Order, Page 3 of 3
                                               2 of 2
